
44 So. 3d 658 (2010)
Undrell TURPIN, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D10-1843.
District Court of Appeal of Florida, Fifth District.
September 24, 2010.
Undrell Terrell Turpin, Bristol, pro se.
Bill McCollum, Attorney General, Tallahassee and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Respondent.
PER CURIAM.
The petition for belated appeal is granted. A copy of this opinion shall be filed with the trial court and be treated as the notice of appeal from the judgment and sentence in case number 05-2005-CF-030993-A, in the Circuit Court in and for Brevard County, Florida. See Fla. R.App. P. 9.141(c)(5)(D).
PETITION GRANTED.
SAWAYA, PALMER and LAWSON, JJ., concur.
